                  EXHIBIT 6




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                                                                      Press Release



            Indigenous, allied groups go to court to stop
                  issuance of Arctic Refuge leases
                                                                  December 15, 2020




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     Arctic National Wildlife Refuge, Alaska                                                                              MASON CUMMINGS, TWS


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     Preliminary injunction calls out flaws in
     leasing plan analysis and decision and
     calls for all activities to be halted
                          The Gwich’in Steering Committee and 12 allied groups filed a motion in U.S.
                          District Court today requesting a preliminary injunction to stop the U.S. Bureau
                          of Land Management from issuing any leases sold in the Jan. 6 sale of the coastal
                          plain of the Arctic National Wildlife Refuge, and from authorizing seismic
                          exploration activities.


                          “The outgoing administration’s attempt to sell-off sacred lands in the last throes
                          of its term is an act of violence toward the Gwich’in people, our way of life, and
                          our survival,” said Bernadette Demientieff, executive director of the Gwich’in
                          Steering Committee. “Today we asked the court to stop this violation of human
                          rights and desecration of sacred lands. Tomorrow, and the day after that, and an
                          infinite number of days after that, we will fight as our ancestors did to protect
                          the lands that nourish the Porcupine caribou herd and our people.”


                          Trustees for Alaska filed the motion for a preliminary injunction in the Gwich’in
                          Steering Committee’s current lawsuit filed in August. The motion calls out the
                          administration’s unprecedented rush to turn over the coastal plain to private oil
                          and gas interests on its way out the door, despite ongoing litigation and the
                          deeply flawed analysis it used when approving the leasing program. The threat of
                          seismic activity this winter and the expansive lease terms and rights proposed
                          for the sale shows that there is immediate threat to Arctic lands, animals, and
                          communities if leases are issued.
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                          “This attempt to sell-off the Arctic Refuge is destructive to human rights, the
                          climate, public health, the health of wildlife,
                                                                     Takeand the integrity
                                                                          Action           of the public
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                          process,” said Brook Brisson, senior staff attorney with Trustees for Alaska.
                          “Every action leading up to this scheduled January lease sale has demonstrated a
                          dangerous disrespect for public interest and transparency, from the way the law
                          got tucked into a tax bill, to the disregard of science and engagement with those
                          most impacted, to this lame duck effort to hand over sacred land to oil and gas
                          interests on the way out of office. This administration has not paused once to
                          listen, to be thorough, or to fix what’s broken in this appalling leasing plan, so
                          we have asked the court to stop it from issuing leases.”


                          The motion requests the court to rule on the injunction by Jan. 6.


                          Law firm Trustees for Alaska represents 13 clients in the lawsuit: Gwich’in
                          Steering Committee, Alaska Wilderness League, Alaska Wildlife Alliance,
                          Canadian Parks & Wilderness Society-Yukon Chapter, Defenders of Wildlife,
                          Environment America, Friends of Alaska National Wildlife Refuges, National
                          Wildlife Federation, National Wildlife Refuge Association, Northern Alaska
                          Environmental Center, Sierra Club, The Wilderness Society, and Wilderness
                          Watch.


                          Client statements:


                          “The Trump administration’s relentless pursuit of a lease sale and destruction of
                          the coastal plain of the Arctic Refuge forces us to seek a preliminary injunction
                          to protect this irreplaceable landscape and preserve the human rights of the
                          Gwich’in and Iñupiat people who have stewarded their cultural and traditional
                          homelands for thousands of years,” said Karlin Itchoak, Alaska state director
                          for The Wilderness Society. “This administration has ignored the will of the
                          people in a last-ditch effort to hold this lease sale before Inauguration Day. It
                          must be stopped.”


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                          “The Porcupine caribou herd is a lifeblood to Gwich’in communities in the
                          Yukon and Northwest Territories, and a keystone  of Canada’s
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                          ecosystems,” said Malkolm Boothroyd, campaigns coordinator for the Yukon
                          chapter of the Canadian Parks and Wilderness Society. “We must defend the
                          Porcupine caribou from the U.S. Government’s last-ditch attempt to auction the
                          Arctic Refuge away to oil companies.”


                          “We remain committed, on behalf of our membership, supporters, and partners,
                          to pursuing every legal option to protect the coastal plain from the Trump
                          administration’s exploitation. We stand with the Gwich’in Nation as they defend
                          sacred lands, and with the hundreds of Alaskans who have spoken up at every
                          opportunity to defend cultural sovereignty, sound science, and robust public
                          process,” said Lisa Baraff, Program Director at the Northern Alaska
                          Environmental Center. “The January 6 lease sale was announced in the middle
                          of an open call for nominations, which further demonstrates the lack of interest
                          in public input. It is unconscionable that even on its way out the door, the
                          administration is still dismissing the human rights of the people who would be
                          the most impacted by drilling in the coastal plain, and the wishes of the vast
                          majority of Americans who wish to see the Arctic Refuge protected.”


                          “This flagrant violation of the public process to ram through destructive oil and
                          gas leasing of the coastal plain of the Arctic Refuge is an unconscionable assault
                          on its incomparable wildlife and habitat, the traditional lifestyle and culture of
                          the Gwich’in Nation, and the overwhelming desire of the American people to
                          preserve this intact ecosystem for future generations,” said Dr. David Raskin,
                          president of the Friends of Alaska National Wildlife Refuges. “This eleventh-
                          hour, last-ditch effort to thwart the overwhelming opposition of the American
                          public for purely political purposes will be defeated by the legitimate
                          stakeholders, just as it has been many times since the Refuge was established by
                          ANILCA in 1980. We will not allow the rights of the public to be trampled by this
                          flawed process that flies in the face of the many laws and regulations that are
                          designed to enhance and preserve our national heritage.”
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                          “We will not stand idly by while the Trump administration auctions off the
                          wildest place left in America at bargain basement  prices,” said
                                                                    Take Action            Adam Kolton,
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                          executive director at Alaska Wilderness League. “This lease sale has been
                          scheduled for early January for the sole reason that the Interior Department
                          wants to get mineral rights in the hands of oil companies before President-elect
                          Biden, who has promised to protect this national treasure, takes office. President
                          Trump’s going out of business sale is not only morally wrong and fiscally
                          calamitous but patently illegal, violating several bedrock environmental laws as
                          well as the GOP Tax Act itself.”


                          “The impacts of opening the coastal plain, once done, cannot be reversed,” said
                          Nicole Schmitt, the executive director of Alaska Wildlife Alliance. “The
                          coastal plain is critical for the Porcupine caribou herd, polar bears, thousands of
                          birds, and other keystone arctic species already under pressure from climate
                          change. This is too important to be rushed through by political whims, both for
                          the future of Alaska’s wildlife and for those, like the Gwich’in, who depend on
                          it.”


                          “This administration has cut corners, ignored public input and turned a blind
                          eye to Indigenous rights,” said Nicole Whittington-Evans, Alaska program
                          director, Defenders of Wildlife. “Development of Arctic National Wildlife
                          Refuge will forever harm Indigenous culture and the irreplaceable wildlife values
                          the refuge was created to protect. This is an injustice that must be stopped.”


                          “This rush to sell oil leases on the Arctic National Wildlife Refuge coastal plain,
                          before Trump leaves office, is yet another violation in a public process that has
                          been fraught with flaws from the beginning, and it must be stopped,” said Fran
                          Mauer, representative for the Alaska chapter for Wilderness Watch. “The
                          Arctic Refuge has remained ecologically whole since the beginning of time. Its
                          coastal plain is the sensitive birthplace of the Porcupine Caribou Herd that has
                          sustained indigenous people for millennia and can continue to do so if it is not
                          exploited for oil development. At a time of growing awareness of the existential
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                          threat from burning fossil fuel, halting this ill-conceived lease-sale will be a great
                          step toward making peace with our PlanetTake
                                                                   thatAction
                                                                        sustains all Donate
                                                                                     of life.”                                                



                          "The Arctic National Wildlife Refuge is a vast, seemingly endless land where
                          time slows down,” said Ellen Montgomery, public lands campaign director
                          for Environment America. “In contrast, the Trump team is wildly racing the
                          clock in an attempt to open this splendor to drilling. We hope the courts put a
                          halt to the administration's mad dash, starting with an injunction against new
                          leasing."


                          “Trump administration officials left us no choice but to go to court to stop the
                          illegal issuance of oil and gas leases, without proper scientific review or full
                          public participation,” said Tracy Stone-Manning, associate vice president for
                          public lands at the National Wildlife Federation. “The headlong rush to
                          destroy one of the last truly wild places in the world threatens Indigenous
                          communities, iconic wildlife, and would further accelerate climate change
                          impacts.”


                          “In their rush to sell off the Arctic Refuge for drilling, the Trump administration
                          has ignored expert input, public opposition, and Indigenous rights,” said Sierra
                          Club Campaign Representative Mike Scott. “This reckless fire sale is a cynical
                          attempt to lock in lease terms that are bad for everyone except drillers.”




                          Tim Woody, tim_woody@tws.org, 907-223-2443




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